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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    (at Frankfort)

 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )      Criminal Action No. 3: 08-21-DCR
                                               )
 V.                                            )
                                               )
 LEONARD LAWSON, CHARLES                       )
 WILLIAM NIGHBERT and BRIAN                    )        MEMORANDUM OPINION
 RUSSELL BILLINGS,                             )            AND ORDER
                                               )
        Defendants.                            )

                                     *** *** *** ***

       This matter is pending for consideration of a motion to dismiss the indictment based on

Defendants Leonard Lawson, Charles Nighbert, and Brian Billings’ (“Defendants”) contention

that the United States violated Rule 6(e) of the Federal Rules of Criminal Procedure which

governs the secrecy of grand jury proceedings. [Record No. 85] As a result of this alleged

violation, the Defendants ask the Court to dismiss the indictment against them. For the reasons

discussed below, the Court will deny the Defendants’ motion.

       I.     BACKGROUND

       Rule 6(e) prohibits “an attorney for the government” or “any government personnel . .

. that an attorney for the government considers necessary to assist in performing that attorney’s

duty to enforce federal criminal law” from disclosing “a matter occurring before the grand jury.”

FED. R. CRIM. PRO. 6(e)(2) and (3). At issue is the government’s public disclosure of FBI

Special Agent T. Clay Mason’s application and affidavit for a search warrant (the “affidavit”).

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This affidavit contained grand jury material that summarized the government’s investigation of

the Defendants’ alleged illegal activities. Various newspaper reporters obtained copies of the

affidavit from the Clerk’s Office in London, Kentucky in early August 2008. [Record Nos. 85,

99] Both before and after the Lexington grand jury returned the indictment on September 3,

2008, numerous newspapers, television news reports, and internet websites featured details of

the government’s investigation of the Defendants. The Defendants allege that this publicity

portrayed them in a negative light to those who were exposed to it – namely, the Lexington jury

division from which the grand jurors were drawn. Further, the Defendants contend that the

publicity was extensive enough to have influenced the jury’s decision to indict. As a remedy for

the alleged violation, the Defendants request: (1) a transcription of all grand jury proceedings;

(2) an evidentiary hearing on the circumstances surrounding the disclosure of the affidavit; and

(3) dismissal of the indictment. In the alternative, the Defendants ask for any other appropriate

remedies, including disqualification of any member of the United States Attorney’s office or FBI

agent who is found to have violated Rule 6(e).

       II.    ANALYSIS

              A.      Rule 6(e)

       Rule 6(e) specifies that an attorney for the government may not disclose grand jury

materials. “A knowing violation of Rule 6 . . . may be punished as a contempt of court.” FED.

R. CRIM. PRO. 6(e)(7). However, a government attorney may disclose such information to any

government personnel who is “necessary to assist in performing that attorney’s duty to enforce

federal criminal law.” FED. R. CRIM. PRO. 6(e)(3)(A)(ii). In this matter, the government points



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out that an FBI agent’s disclosure of grand jury material in a search warrant is clearly central to

its duty of enforcing federal criminal law. The Court agrees that the government’s inclusion of

grand jury material in the search warrant affidavit is indeed a permissible disclosure of grand

jury material. However, the issue here is not with the government’s disclosure of grand jury

material in the search warrant, but rather with the government’s alleged disclosure of that search

warrant information to the press.

       The United States offers an argument that essentially excludes a search warrant affidavit

from the definition of “grand jury materials.” The Sixth Circuit provides a helpful description

of these materials:

       Documents obtained by the grand jury . . . are presumed to be matters occurring
       before the grand jury and therefore protected from disclosure. Mere contact with
       a grand jury, however, does not change every document into a matter ‘occurring
       before a grand jury’ within the meaning of Rule 6. A moving party has the
       opportunity to rebut the presumption by showing that the information is public
       or was not obtained through coercive means or that disclosure would be
       otherwise available by civil discovery and would not reveal the nature, scope,
       or direction of the grand jury inquiry.

United States v. Rutherford, 509 F.3d 791, 795 (6th Cir. 2007) (emphasis added). Thus, a party

may rebut the presumption that documents are grand jury material by showing that: (1) the

information is public; (2) the information was not obtained through coercive means; or (3) civil

discovery would otherwise bring about disclosure, without revealing details of the grand jury

inquiry. The government bases its argument on the first rebuttal option – that the affidavit was

public information. In support, it points to an “established procedure” followed in the Eastern

District of Kentucky whereby a search warrant and affidavit are automatically unsealed after the

warrant is executed and returned. [Record No. 99] Unless a party moves to seal the file, the


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warrant and affidavit are unsealed and, pursuant to Rule 41 of the Federal Rules of Criminal

Procedure, filed in the District Court Clerk’s office. Rule 41(i) directs “the magistrate judge to

whom the warrant is returned . . . to attach to the warrant a copy of the return, of the inventory,

and of all other related papers and must deliver them to the clerk in the district where the

property was seized.” FED. R. CRIM. PRO. 41(i). All papers filed with the clerk are public

records. Therefore, unless the government requests a sealing order, the warrant materials

become public records like any other document filed with the court. Both the Eighth and Ninth

Circuits have recognized that “search warrant applications and receipts are routinely filed with

the clerk of court without seal.” McDonnell Douglas, 855 F.2d at 573; see also Times Mirror,

873 F.2d at 1214. Thus it is the exception, rather than the norm, that the government moves the

court to seal a warrant upon return.

       In this case, the Rule 41 procedure was carried out as usual and the United States

apparently saw no need to move for the subject affidavit to be sealed once the magistrate judge

sent the file to the clerk’s office. The government argues that, under this procedure, failure to

move to seal the affidavit – a public document – cannot be the basis for a Rule 6(e) violation.

In fact, it contends that moving to seal the affidavit would have been an unwarranted measure

harmful to the public. The government lays out a full analysis based on a line of cases

addressing public right of access to court documents, urging this Court to adopt the balancing

test formulated in a D.C. district court case, In re Search Warrants, No. 87-186, 1990

WL113874 (D.D.C. July 26, 1990). These cases only serve to illustrate the conflict between

many different courts regarding whether there is a First Amendment right of access to search



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warrant affidavits. And as relevant points of analyses, they are limited in their applicability. In

each case, either the government or a magistrate judge sought or ordered the search warrant

affidavit sealed, and another party – usually the press – sought to have the document unsealed.

Here, neither the United States nor the Magistrate Judge made attempts to seal the affidavit and

the Defendants are not attempting to gain access to the document. Instead, the Defendants are

attempting to hold the government responsible for having allowed others access. In essence, the

cited cases address the question of whether the press has a First Amendment right to search

warrants that a court has sealed in the interests of the government’s investigation. These cases

do not address the subtly different question at issue here: whether and how Rule 41 procedures

concerning search warrants are affected by Rule 6(e)’s secrecy requirements.

        Because of these differing inquiries, the Court cannot accept the government’s “balancing

test” for public right of access to grand jury materials. In its response to the Defendants’ motion

to dismiss, the United States argues that this balancing test trumps the plain meaning of Rule

6(e):

        The defendants imply that there is a hard and fast rule that prohibits the disclosure
        of court documents containing grand jury material until the indictment has been
        returned. Because in the usual case the balancing test favors continued secrecy
        until an indictment is handed down, it is easy to understand how one might reach
        that conclusion.

[Record No. 99] However, Rule 6(e) is a hard and fast rule prohibiting disclosure of grand jury

materials. Further, Rule 6(e) does address the sealing and unsealing of documents containing

grand jury materials. “Records, orders, and subpoenas relating to grand-jury proceedings must

be kept under seal to the extent and as long as necessary to prevent the unauthorized disclosure



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of a matter occurring before a grand jury.” FED. R. CRIM. PRO. 6(e)(6). Although the Court is

inclined to believe that the search warrant affidavit is indeed a Rule 6(e) record for which there

is no automatic public right of access, the Court is unable to conclude that the United States

knowingly violated Rule 6(e) by failing to move to seal the affidavit.

         In other disclosure cases, the government’s attorney or another government agent actually

provided information from grand jury proceedings to a member of the press. See United States

v. Van Engel, 809 F. Supp. 1360 (E.D. Wis. 1992) (determining whether violation occurred when

government agent met with reporters for an interview and spoke about contents of search warrant

affidavit); United States v. Smith, 815 F.2d 24 (6th Cir. 1987) (determining appropriate jury

instruction for contempt case in which DEA agent disclosed investigative reports to a newspaper

reporter). Here, the government failed to move to seal the subject affidavit, the affidavit was

filed in the clerk’s office pursuant to Rule 41 where it was eventually viewed by members of the

press.

         In summary, the government’s failure was an omission born of an established procedure

in this district and many others. While it is clear that there is some discord between Rules 6(e)

and 41, it is not the place of this Court to legislate. And although the Court agrees with the

Defendants that these procedures could lead to potential government abuse, the Court cannot find

that the United States abused Rule 41 procedures in order to intentionally leak grand jury

information. Thus, the government’s failure to move to seal the affidavit does not warrant

sanctions.




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         However, in the interests of ensuring that the Defendants’ motion has been fully

considered, the Court will address the issue of the pre-trial publicity generated from the affidavit

and its effect on the grand jury’s decision to indict. Even absent a Rule 6(e) violation, the Court

recognizes the possibility that the grand jury may have been prejudiced by information in the

media.

                B.     Alleged Prejudice to the Defendants

         “Dismissal of the indictment is appropriate only if it is established that the violation

substantially influenced the grand jury’s decision to indict, or if there is grave doubt that the

decision to indict was free from the substantial influence of such violations.” Bank of Nova

Scotia v. United States, 487 U.S. 250, 256 (1988) (internal citation omitted). The Sixth Circuit

has long upheld a stringent standard for dismissal as well:

         “[A] court may not order dismissal of an indictment under its supervisory power
         unless the defendant demonstrates that prosecutorial misconduct is a long-
         standing or common problem in grand jury proceedings in the district. In addition
         to demonstrating long-standing prosecutorial misconduct, a defendant who seeks
         dismissal of an indictment also must show that he was prejudiced by the
         prosecutor’s actions.

United States v. Goldsby, 125 Fed. App’x 687, 691 (6th Cir. 2005) (unpublished) (citing United

States v. Griffith, 756 F.2d 1244, 1249 (6th Cir. 1985)). Only if “the structural protections of

the grand jury have been so compromised as to render the proceedings fundamentally unfair” is

there a presumption of prejudice. Bank of Nova Scotia, 487 U.S. at 257. Otherwise, “[b]ecause

of the well-accepted principle that grand jury indictments are presumed valid, we exercise

extreme caution in dismissing an indictment for alleged grand jury misconduct.” United States

v. Overmyer, 899 F.2d 457, 465 (6th Cir. 1990).


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       This Court is reluctant to further impinge on the secrecy of grand jury proceedings by

granting the Defendants’ request for both transcription and an evidentiary hearing. “The nature

of a grand jury’s work requires that its proceedings remain secret.” Application of Storer

Communications, Inc., 828 F.2d 330, 336 (6th Cir. 1987). However, the Court recognizes that

it is difficult to assess any prejudicial impact on a grand jury proceeding without knowledge of

the contents of the proceeding itself. To this end, the Court will order transcription of the

proceedings and review the transcript in camera. Upon reviewing the transcript, the Court will

conduct an evidentiary hearing, or take other measures, if necessary. In reviewing the transcript,

the Court will examine whether the jury’s decision to indict was substantially influenced by the

publicity surrounding the information.

       III.    CONCLUSION

       Having reviewed the record, the Court denies the Defendants’ motion to dismiss the

indictment and request for an evidentiary hearing. And because of the important concerns

behind grand jury secrecy, the Court also denies the Defendants’ request for transcription of

grand jury proceedings. Instead, the Court will review the grand jury transcript in camera, and

order an evidentiary hearing, if necessary, following such review. Accordingly, it is hereby

       ORDERED that the Defendants’ Motion to Dismiss Indictment [Record No. 85] is

DENIED, without prejudice, and subject to the Court’s reconsideration following further review.

The United States is directed to produce a copy of the grand jury transcript for the undersigned’s

in camera review.

       This 24th day of December, 2008.



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